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   January 5, 2024

   Certified Mail Return Receipt Requested
   # 9589 0710 5270 0477 1754 44

   Royal Caribbean Cruise, LTD
   Attn: Risk Management
   1050 Caribbean Way
   Miami, FL 33132

   RE:    Our client:   Carmen Roebuck
          Vessel:       Independence of the Seas
          Location:     Interior 11th Floor near the Wind Jammer Buffet
          Date of Loss: December 10, 2023
          Time of Loss: Approximately 6:30 p.m.

   Dear Sir or Madam:

   Please be advised that the undersigned counsel represents the above referenced individual, who
   was injured aboard your vessel which occurred on December 10, 2023. At the place referenced
   herein, our client slipped and fell on a wet substance walking near the Wind Jammer Buffet. As a
   result, Ms. Roebuck sustained injuries to her left knee.

   Liability for this accident is based on failure to properly maintain the vessel and common areas in
   a reasonably safe condition and failure to warn. This letter shall serve as my client’s notice of
   intent to file a claim pursuant to his passenger ticket contract. Request is made that all future
   correspondence concerning his claim is directed to the undersigned.

   This letter shall also serve as our formal request to provide all shipboard and shore side medical
   records, bills, reports, medical forms, passenger injury and other witness statements, accident
   scene photographs and video recordings of this incident and copy of the stateroom account for the
   entire voyage.

   Moreover, please provide a copy of United States Coast Guard Form 2692, together with all other
   accident and investigative records in your possession.




                        GERSON & SCHWARTZ, P.A. • 1980 Coral Way • Miami, Florida 33145-2624
             Dade (305) 371-6000 •Broward (954) 845-0535 • Fax (305) 371-5749 •Toll Free (877) 475-2905
                                           www.injuryattorneyfla.com
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   January 5, 2024
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   Request is made that you provide us with this information within (20) days from the date of this
   letter. Failure to comply with this request within the time stated herein may result in a lawsuit filed
   against you. A signed Patient Authorization for the Release of Protected Health Information is
   enclosed.

   Should you have any questions or comments, kindly notify me at once.

   Very Truly Yours,

   Brandon Volk,

   /s/ Brandon Volk
   BRANDON VOLK, ESQ

   BV/im
   Enclosure
